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                        Exhibit D
Himalaya Exchange Client Redemptions
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                                                                                                                                                                                             DXZ_02


                                                                             Himalaya Exchange Client Redemptions
                                                                                 Total Redemption (Amount)              Total Redemption (Count)

$12,000,000                                                                                                                                                                                              600
                                                            $11,001,713
                                                                                                                                                                   561


$10,000,000                                                                                                                                                                                              500




 $8,000,000                                                                                                                                                                                              400




 $6,000,000                                                                                                                                                                                              300




 $4,000,000                                                                                                                                                                                              200




 $2,000,000                                                                                                                                                                                              100




        $0                                                                                                                                                                                               -
              August 2021   September 2021   October 2021        November 2021        December 2021      January 2022           February 2022       March 2022    April 2022   May 2022      June 2022




                                                                                                                                                   Source: DX_11220; DX_11431; DX_11594-11609; DX_60001-60050

                                                                                                                                                                                                               1
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 • Based upon my review of FV Bank records, in the period between November 2021 and June 2022, the
   Himalaya Exchange processed 3,680 redemptions (payments) to customers.
 • The total dollar amount of those payments was approximately $64 million.




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